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                              U NITED STA TES DISTR IC T C OU RT
                              SOU TH ER N DISTRICT OF FLO RIDA

                                 Case N o.18-CR-20501-ALTON AG A

      UNITED STA TES O F AM ERICA

                    Plaintiff,
      VS.

      ESTH ER A GU ILEM        ESCALO NA ,

                    D efendant.
                                         /

                             FA CTUA L BASIS IN SU PPOR T OF PLEA

             TheU nited Stateshereby filesthisfactualbasisin supportofthe changeofplea of

      defendantEstherAguileraEscalona(Aguilera).Insuppol'tthereotlthegovernmentasserts
      thefollow ing facts:

             ACM HomeHealth Carelnc.(ACM )wasaFlorida corporation with aplaceof
      business in M iam i-D ade County.A CM w aspurportedly a H om e Health A gency engaged  .



      in the business ofproviding hom e health services to M edicare beneficiaries.D efendant

      A guilera w asa residentofM iam i-Dade and apatientrecruiterforA CM .

             ln oraround October2016,A guileraw as involved in the recruitm entofM edicare

      benetk iaries R.M .,R.F.and D .A .to enroll into A CM in exchange for receiving cash

      kickback paym ents.R .M .,R .F.and D .A .did notqualify forhom e health servicesbecause

      they were nothom ebound.N evertheless,allthree were em olled into A CM .

             Because of R.F.,R.M .and D .A 's enrollm ents,Aguilera and her co-conspirators

      caused A CM to subm itfalse and fraudulentclaim sto M edicare forhom e health services

      thatw erenotm edically necessary and neverrendered.Based upon the falseand fraudulent

      claim s subm itted for hom e health services that were not m edically necessary and never
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      rendered.A guilera and her co-conspirators caused M edicare to pay A CM approxim ately

      $47,427.88.Additionally,in oraround October2016,law enforcementaudio and video
      recorded Aguileraasshepaid and causedthepaymentsof$1,250in cash kickbacktoeach
      Medicarebenefciary ?orserving aspatientsatACM .Aguileraand herco-conspirators
      usedtheproceedsofthehealth carefraudfortheirpersonaluseandbenefk,and to further

      thefraud.

             These events occurred in M iam iDade County,in the Southern D istrictofFlorida,

      and elsewhere.Ifthis case were to go to trial,the Governm entw ould be in a position to

      prove allofthe above beyond a reasonable doubt.The above-described factsserveonly as

      a sum m ary ofthetestim ony w erethis case to proceed to trialand arenotintended to bean

      exhaustive account of al1 the inform ation available to the Governm ent concerning the

      offenses charged in the lndictm ent.


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